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                           UNITED STATES DISTRICT COURT
                                      FOR THE
                               DISTRICT OF COLUMBIA
U.S.A. vs. GORDON, Vaughn                                                    Docket No.: 1 :21CR00099-001



                The Court may enter a minute order for any of the following options:


Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
wanant for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

I. � Concurs with the recommendation of the Probation Office to "modify the special
     conditions of supervision changing the community service obligation from 90 days to 90
     hours."

2.   □   No action

3. D Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4.   □   Issuance of a summons and schedule a hearing

5.   □   Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
         judge for the preparation of a report and recommendation to the district judge. This
         designation will remain for the duration of the case, and the designated magistrate judge
         will respond to all subsequent requests from the probation office unless otherwise ordered
         by the district judge.

6. D Other




                                              Paul L. Friedman
                                         United States District Judge
